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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                    SOUTHEASTERN DIVISION

J.T.H and H.D.H                                            )
                                                           )          Case No. 1:20-CV-222
                   Plaintiffs,                             )
          v.                                               )
                                                           )
MISSOURI DEPARTMENT OF                                     )
SOCIAL SERVICES, CHILDREN’S                                )
DIVISION; and SPRING COOK, in her                          )
Individual capacity,                                       )
                                                           )
                   Defendants.                             )

                 DEFENDANTS SUGGESTIONS IN OPPOSITION TO
               PLAINTIFFS MOTION FOR PRELIMINARY INJUNCTION

I. Introduction

           Defendants previously filed a Motion to Dismiss the Complaint in its

entirety, including Count II for a Preliminary Injunction 1. Many of the points and

authorities in support of the Motion to Dismiss apply to the issues presented in

Plaintiffs’ PI Motion. While incorporating those arguments directed to Count II by

this reference, these suggestions will discuss points raised in the PI Motion in light

of the Plaintiff Father’s Declaration and the additional evidence Defendants submit

herein. When the Court has had the opportunity to review the record, it will be

apparent that Plaintiffs’ Complaint and PI Motion wholly lack foundation.

II. Issues relevant to the disposition of the Plaintiffs’ PI Motion.




1
    Defendants will refer to this as the “PI Motion” in this brief.

                                                       1
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          Plaintiffs’ PI Motion, based solely on Count II of the Complaint, is against the

Department of Social Services (DSS), Children’s Division (CD). PI Motion, pp. 1-2.

Count II contends that the Child Abuse and Neglect Review Board’s (CANRB)

procedures deny the Plaintiffs’ right to procedural due process. They ask this Court

for a preliminary injunction prohibiting CD from

                  enforcing the Missouri Child Abuse & Neglect Central Registry
                  statutory and regulatory process, RSMo 210.152 and 210.153, and
                  Missouri CSR 35-31.025 without providing the following procedural
                  due process rights to attend [sic] to any child abuse and neglect
                  investigations, findings, and hearings against the alleged perpetrator:
                         1. Right to obtain all evidence, including disclosure of Children’s
                  Division’s entire file, and to compel production of all evidence if
                  necessary with some process to compel production;
                         2. Right not to be charged money for disclosure of Children’s
                  Division’s evidence;
                         3. Right to cross-examine Children’s Division witnesses where
                  there are conflicting narratives of the truth, in light of an alleged
                  perpetrator’s interest in avoiding ‘stigma plus” placement on the
                  Missouri Child Abuse and Neglect Central Registry.

Defendants will therefore confine their response to the PI Motion on addressing the

facts and law applicable to Count II and the Plaintiffs specific requests for

injunctive relief. Because they are beyond the scope of the three items requested in

the PI Motion, Defendants object to Plaintiffs’ inclusion of arguments relating to the

adequacy of notice, which is unrelated to the relief requested.

          The PI Motion should be denied because: 1) Plaintiffs lack Article III

standing2; 2) Plaintiffs have not pled this case as a class action and therefore lack

standing to request preliminary relief on behalf of unspecified “others” who are not




2
    For the reasons specified in the Defendants’ Motion to Dismiss.

                                                    2
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parties to this case; 3) Plaintiffs have failed to establish an arguable case that any

of the factors listed in Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 114 (8th

Cir. 1981), have been met; 4) Plaintiffs have adequate remedies at law; and 5) the

procedures Plaintiffs request the Court implement at the administrative review

stage are simply not required to comply with procedural due process requirements.

III. The Record for PI Motion.

           In part III of their brief, Plaintiffs suggest that the court hold an evidentiary

hearing. While Defendants do not object to oral argument, they submit that

dismissal of this case is warranted as a matter of law based on the Complaint alone.

In the event the Court decides to consider the PI Motion, Defendants submit that

the case can be resolved by reference to the affidavits and declarations submitted by

the parties without an evidentiary hearing. Defendants, however, will be prepared

to defend the case at an evidentiary hearing.

IV. Factual Summary

           The parties appear to agree on the following facts:

          Scott County Sheriff’s Deputy Brandon Cook sexually abused the Plaintiffs’

           15 year old son (Son) in or about May of 2020.3 The abuse took place in

           Brandon Cooks’ marked patrol car when he was on duty and in uniform. 4

           Brandon Cook groomed Plaintiffs’ Son through the Scott County Sheriff’s

           Explorer program, at a crawfish boil, at the Scott County rodeo ground and




3
    Complaint, paragraph 13.
4
    Complaint paragraph 14

                                                3
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          through a smartphone app called Grindr.5 Brandon Cook was arrested by

          troopers from the Missouri State Highway Patrol and is charged with

          Statutory Sodomy -2nd degree, a Class D felony. §566.064 RSMo. The criminal

          charges are pending.6

         JTH holds a Missouri POST law enforcement license7, and that at the time

          Brandon Cook sexually abused Plaintiffs’ Son he was a colleague of JTH at

          the Scott County Sheriff’s Department. 8

         JTH, as Son’s next friend, asserted claims against Scott County related to the

          incident involving Brandon Cook.9 Defendants believe that those claims were

          settled out of court.10

         In 2020, the Plaintiffs’ minor Son also became sexually involved with another

          adult, male Tae Kwon Do instructor after the Son’s 16th birthday.11 When

          JTH found out that the instructor was messaging about sex with his son JTH

          confronted him in person, stated that his Son was a minor and asked him to

          stop all contact.12 The instructor then assaulted JTH.13 Plaintiffs’ minor

          daughter and her friend were nearby in JTH’s car and witnessed the




5
  Complaint, paragraph 16.
6
  Complaint, paragraph 19
7
  Complaint, paragraph 2.
8
  Complaint, paragraph 15.
9
  Complaint, paragraph 20.
10
   Complaint, paragraph 21.
11
   Complaint, paragraph 44.b.
12
   Complaint, paragraph 44.b
13
   Complaint, paragraph 44.b

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         incident.14 JTH did not report the assault, and apparently did not report the

         sexual abuse of his Son by this second individual.15

        Spring Cook is the Circuit Manager for the Scott County CD office in

         Sikeston16, and she and her team members work closely with Scott County

         deputies to respond to hotline investigations, as required by law. 17

        Plaintiffs’ minor Son, with his mother’s consent went on a date with another

         teenaged boy that allegedly involved driving to a shopping mall across the

         Arkansas state line, seeing a movie and having a meal. 18

Plaintiffs and Defendants also appear to generally agree that CD received a hotline

report pertaining to the family on November 7, 2018; Ms. Cook conducted the

investigation19; Ms. Cook met with HDH, JTH (once) and the children on several

occasions between November 7 and the end of November of 2018; 20 in a letter dated

November 23, 2018, Plaintiffs’ lawyer asked Ms. Cook to recuse herself, and

Plaintiffs refused further home visits by Ms. Cook;21 Ms. Cook made a preliminary

finding of neglect on January 7, 2019;22 Plaintiffs appealed the finding to the

CANRB;23 Ms. Cook reviewed her finding when she received the request for




14
   Complaint, paragraph 44.b
15
   . Complaint, paragraph 44.b.
16
   Complaint, paragraph 5.
17
   Complaint, paragraph 22.
18
   Complaint, paragraph 44.c.
19
   Complaint, paragraph 49
20
   Complaint, paragraphs 23, 31, 32
21
   Complaint, paragraph 33, 34
22
   Complaint, paragraph 44.
23
   Complaint, paragraph 51

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administrative review;24 the CANRB held a hearing on August 27, 2019;25 Plaintiffs

were represented by counsel at the hearing but Ms. Cook was not; 26 and, the

CANRB overturned Ms. Cook’s preliminary finding.27

         Finally, the parties agree generally that CANRB hearings are conducted

informally. Testimony and other evidence are not received under oath, cross

examination is not permitted, and there is no record or transcript of the

proceeding.28 Nor is there a right to pre-hearing discovery or to take depositions.

However, CD does provide “information and findings” to the alleged perpetrator and

the parents prior to the hearing.29 §210.150.2(4) and (9) RSMo and 13 CSR 35-

31.025(9)(A)(3). Each party has an opportunity to make a 20-minute presentation. 30

         Under applicable regulations, the alleged perpetrator and the child’s parents

may submit written information to the CANRB before the hearing, 31 and the

CANRB has discretion to provide extra time to the parties. 32 The record does not

indicate that Plaintiffs asked for additional time to present their case.

         From the affidavits and written records accompanying these suggestions, it is

apparent that the two incidents of sexual abuse raised in the Complaint were the




24
   Complaint, paragraph 52. Plaintiffs expressly do not contend that this review forms a constitutional violation.
Complaint, paragraph 54, footnote 1.
25
   Complaint, paragraph 77.
26
   Complaint, paragraph 83.
27
   Complaint, paragraph 92.
28
   Complaint, paragraph 69.
29
   Complaint, paragraph 70.
30
   Complaint, paragraph 69.
31
   13 CSR 35-31.025(9)(A)(4) and (9)(B).
32
   13 CSR 35-31.025(10)(A).

                                                          6
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tip of the iceberg.33 Plaintiffs’ Son told Ms. Cook that he had been getting on the

Grindr app since he was about 12-13 years old. Affidavit of Hannah Wright,

Exhibit A, p. 0019 and Exhibit C, p. 0198.34 The Grindr app is a social networking

platform available on cell phones and the internet that enables gay, bi, trans and

queer people to connect.35 The first time his parents found out he was using Grindr,

they took his cell phone away. Wright, 0198. When he got his phone back at age 15

his parents set no boundaries. Id. He said his parents told him that they would do

weekly checks on his phone, but they never did. Id. About 3-4 months after Son got

his phone back he again downloaded Grindr and started sending and receiving nude

pictures. Id. Some photos he received were from children his own age, but most

were from older men. Id. Son said he would meet the men in his driveway or go to

their homes. Id. He said his parents were sleeping when he would meet the men in

the driveway. Id. Son told his sister what he was doing, but she told on him. Id. His

sister also told him about the dangers of what he was doing, so he did not talk with

her much. Id. Son told Ms. Cook that he had sex 3 times and had given 17 people

blow jobs. Id. Son told Ms. Cook that his parents had purchased a security camera

but they never put it up or did anything with it. Id. Son said his parents put an app

called “Live 360”36 on his phone to track his movement, but they did not check the

app. Id. Also, he could “pause” the app and go where he wanted while it showed he


33
   The Defendants do not view the date with the young man in Arkansas as an “incident”, as will be discussed in
more detail elsewhere in this brief.
34
   Hereinafter citation to paragraphs in Wrights’ affidavit will be to “Wright, ¶__” and to pages contained in the
affidavits Exhibits A, B, and C will be the Bate-labeled numbers, e.g. “Wright, (bates page #)”.
35
   See www.grindr.com, https://apps.apple.com/us/app/grindr-gay-chat/id319881193 and Grindr - Gay chat - Apps
on Google Play
36
   Ms. Cook refers to this app as “Live 360”, but it is actually “Life360”. See www.life360.com

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was where he was supposed to be; his parents knew this but did nothing about it.

Id. He told Ms. Cook that he had purchased sex toys, that his parents knew he had,

and that they just told him that he was “crazy” for doing it. Id.

           Son said he could talk with his mother, but he did not have a good

relationship with his father. Id. Son told Ms. Cook that his father is never home. Id.

Son told Ms. Cook that he was “addicted” (to Grindr-type apps) Id. 0201, that he

gets attention when he uses Grindr and he likes the attention. Id. 0195. He said

that not many gays his age were in his area. Id. Son indicated that he was open to

receiving counseling and would welcome the opportunity to participate in a support

group for gay children. Id. 0201.

           Son and Ms. Cook talked about Ms. Cook’s concerns about Son getting hurt

and about whether he would be willing to get counseling. Id. 0198. Son told Ms.

Cook that he had been in counseling before, but stopped going because he did not

like the counselor. Id. Son said that someone should block the apps so that he

would not be tempted. Id.

           HDH corroborated Son’s story. She told Ms. Cook that they allowed their

children to have a cell phone when they reached age 12. Id. 0199. HDH said that

her Son got in trouble when he was 12 because they found messages about him

being with an older man. Id. This is when they learned about the Grindr app. Id.

HDH said that she told JTH and “he took care of it.” Id. HDH said that they

informed Miner Police Department37 about it and then Scott County came and took



37
     The City of Miner is located in Scott County, Missouri.

                                                               8
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the tablet. Id. HDH told Ms. Cook when they gave the phone back to their Son it

was only for texting and calling. Id. However, she and her husband set no

boundaries for their Son and they did not talk to him about getting back on Grindr.

Id.

      HDH disclosed that she was struggling with how to handle her children’s

online behaviors. HDH told Ms. Cook that she could not control or manage what her

children get on and what they do with their phones. Id. 0194. HDH said that she

tried to take the children’s phones away before, but the children refused. Id. HDH

told Ms. Cook that she does not monitor the children’s phones so she does not know

if anything has been going on since the last time it happened. Id. HDH said that

that they got the Live 360 App for the children’s phones, but HDH does not pull up

the history or track what the children have been doing. Id. 0199. HDH said that

she knew that the children knew how to pause their location. Id.

      HDH said that she did not know about the incident with the police officer

until the Highway Patrol came to the home, and she did not find out about the

incident with the taekwondo instructor until August or September of 2018 . Id.

      HDH disclosed that Son had recently met someone on line and had met with

him in Arkansas on Sunday. She told Ms. Cook that the boy was 16 years old, and

she knew that the boy’s parents were not happy about it. Id. 0194

      HDH and Ms. Cook talked about what could be done to help the family. HDH

told Ms. Cook that Son used to be on medication and in counseling, but they stopped

taking him. Id. 0199. HDH also told Ms. Cook that she had been in a bad spot a few



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years ago and had been on medication, but she had stopped taking the medication

and was not seeing anyone. Id. They discussed getting Son back into counseling. Id.

Her husband, JTH, was an over the road trucker and was frequently on the road.

Id. 0194. HDH told Ms. Cook that she and her husband have a lot of

communication problems. Id. 0199. JTH is home perhaps 1-2 days each week. Id.

HDH told Ms. Cook that her husband likes to be the dictator and tell everyone what

to do. Id. HDH told Ms. Cook that she and her husband are never on the same page.

Id. HDH told Ms. Cook that she does not really have a support system at this time.

Id. HDH said that her father is not in good health, that he does not know Son is

gay, and that it would destroy him if he knew. Id. HDH said that she has a sister

but they really do not get along. Id. HDH said that she only has one friend. Id.

HDH said that JTH is not physically abusive, but he is emotionally and verbally

abusive to her and the children. Id.

      Ms. Cook spoke with JTH once, on November 9, 2018, as he was not home

during her other visits. When Ms. Cook introduced herself, JTH told her that he

knew her from working with her a long time ago when he was an officer in

Charleston. Id. Ms. Cook asked whether he had a problem with her working on this

case or if he felt that it was a conflict for him and he replied “No, you are very

professional and just doing your job.” Id. JTH said that he was a trucker, he had

just started a job with Fed Ex and he was not home a lot. Id. He told Ms. Cook that

he did not know about anything really going on because his wife was home more

than he was. Id.



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           Plaintiffs’ oldest daughter told Ms. Cook that she was aware of her brother’s

conduct and concerned with her brother’s safety. Id. 0194, 0201.

           On November 15, 2018, Ms. Cook and HDH met at HDH’s home. During that

visit they developed a safety plan which consisted of 1) gathering information on

how to block apps on a phone or how to synch their phones, gather the log ins for

each of the children’s phones and do random checks, HDH setting rules for the

children’s internet and phones use, and HDH setting expectations for their home

and come up with a better plan for how to communicate with each other. Affidavit

of Spring Cook, ¶20 (hereinafter “Cook, ¶__”). However, the process of finalizing

and implementing the plan was cut short when Plaintiffs, through counsel, notified

CD that there would be no further communication except through counsel and that

any further actions would be court ordered. Cook, ¶23.

           Ms. Cook denies that she made her preliminary finding because she was

upset about Plaintiffs’ alleged statements made about the Sheriff’s Department. Id.

¶39. She further denies that she reported Plaintiffs or their children to the FBI. Id.

¶37. Ms. Cook’s decisions were made out of a concern for the welfare of the

Plaintiffs’ children, particularly the Son and pursuant to her lawful duties as a CD

employee and no other purpose. 38

V. Spring Cook had a reasonable basis in fact and law to make a
preliminary finding that the Plaintiffs’ should be listed in the Central
Registry for child neglect.




38
     Cook, ¶¶ 14-27, 30, 43.

                                              11
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        The theory of Plaintiffs’ PI Motion is that Ms. Cook had no basis in fact or

law to make her preliminary finding of neglect, and they attack her motives.

Plaintiffs contend, without factual support, that Ms. Cook found that “Plaintiffs

Parents were neglectful and therefore responsible for their son’s abuse at the hands

of Brandon Cook, in that they allowed their teenage son to drive a car, have a cell

phone, and use social media.”39 This is clearly not the case.

        Under §210.110(12) RSMo, the term “neglect” is defined as:

                 Neglect", failure to provide, by those responsible for the care, custody,
                 and control of the child, the proper or necessary support, education as
                 required by law, nutrition or medical, surgical, or any other care
                 necessary for the child's well-being. Victims of neglect shall also
                 include any victims of sex trafficking or severe forms of trafficking as
                 those terms are defined in 22 U.S.C. 78 Section 7102(9)-(10);

Ms. Cook had a basis in fact supporting each element of this definition. The Son was

a child under age 18-years at the time of the incident. §210.110(4) RSMo. Under

§210.110(16)(a), the child’s parents or legal guardians are, by definition, “those

responsible for the care, custody, and control of the child.” The Legislature utilized

broad language for a reason. CD’s mandate is to both to investigate and make

findings, and to offer services to mitigate the impact of trauma and to prevent or

eliminate the need for a child to be involuntarily removed. 40 The Central Registry is

not a tool to punish perpetrators; rather, it is intended to protect children and

provide services to families in need.41 In light of that purpose, ample evidence


39
   PI Motion, page 2.
40
   The law governing CD’s responsibilities was discussed in the Defendants’ Motion to Dismiss, so the Defendants
refer the court to that discussion.
41
   Owen v. Missouri Dept. of Social Services, Children’s Div. Child Abuse and Neglect Review Board, 535 S.W.3d 421,
424-425 (Mo. App. W.D. 2017).

                                                        12
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supported Ms. Cook’s preliminary finding that Plaintiffs failed to provide the proper

or necessary medical care or any other care necessary for the child’s well-being. The

supportive evidence for her finding mostly came from information that HDH, the

Son and the other children, and all of it is contained in her report that CD provided

to Plaintiffs’ counsel, free of charge, 42 before the CANRB hearing.

           Ms. Cook summarized her finding of neglect against HDH regarding HDH’s

Son in her January 7, 2019, preliminary finding notice as follows:

                     [HDH] failed to provide the proper or necessary support, education as
                     required by law, nutrition or medical, surgical, or any other care
                     necessary for the child’s well-being in that: [Son] has been meeting
                     people on a ‘Grindr App’ starting at the age of 13 years of age. [Son]
                     continues to meet older men on the ‘Grindr’ App and has sexual
                     relations with them either in his driveway of his parent’s home or he
                     goes to their home. [HDH] is aware of at least 2 incidents occurring
                     and is still not properly supervising her child or seeking out help for
                     her child. [HDH] was aware of her child receiving messages from an
                     older man and receiving gifts and her husband went and confronted
                     the man and she didn’t report it to proper law enforcement. [Son]
                     admitted to having sex with the man his dad confronted. Even through
                     [HDH] knew about her son meeting older people on-line and having
                     sexual relationships with them, [HDH] still allowed her child to go to
                     Arkansas by himself to meet a person he met on line.43

Ms. Cook summarized her finding against JTH regarding his son in her January 7,

2019, preliminary finding notice as follows:

                     [JTH] failed to provide the proper or necessary support, education as
                     required by law, nutrition, or medical, surgical or any other care
                     necessary for the child’s well-being in that: [Son] has been meeting
                     people on a ‘Grindr App’ and has sexual relations with them either in
                     his driveway of his parent’s home or he goes to their home. [JTH] is
                     aware of at least 2 incidents occurring and is still not properly
                     supervising his child or seeking out help for his child. Mr. Hill was
                     aware of his child receiving message from an older man and receiving

42
     Wright, ¶ 10.
43
     Cook, Ex G.

                                                 13
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                  gifts and went and confronted the person but never reported the
                  incident to any law enforcement agencies. [Son] admitted to having sex
                  with the man his father confronted and receiving gifts from him. Even
                  though [JTH] knew about his son meeting older people on-line and
                  having sexual relationships with them, [JTH] still allowed his child to
                  go to Arkansas by himself to meet a person he met on line. 44

These findings, supported by the record, meet §210.110’s definition of “neglect.”

         Notably, Plaintiffs do not allege in their Complaint or the PI Motion that the

facts as Ms. Cook found them, or as Ms. Cook set out in her report, were incorrect.

Instead, they attack her motives and disagree with her application of the definition

of “neglect.”

         In summary45, the facts are: there were more than two sexual incidents

between the Son and adult men; the Son had been in trouble for using Grindr to

meet men before the incidents in 2018; HDH and JTH had previously taken the

Son’s cell phone away before for using Grindr; JTH and HDH did not monitor the

children’s cell phone use even after they were on notice that the Son was again

using it inappropriately; JTH and the Son did not have a good relationship; JTH

was an over the road trucker who was rarely home, leaving HDH to deal with the

children; HDH was struggling to handle the children and could not control their cell

and internet phone use; and HDH and JTH had problems communicating with each

other and working together to deal with the challenges of raising their children.

         Further, Plaintiffs’ Son recognized that he was “addicted” (his word) to

Grindr and the attention that he received from men. The Son recognized that


44
 Wright, 0033-0035.
45
  The detailed facts, too long to set out in this Memorandum, are presented in affidavits and defendants invite the
Court to review them. See: Cook, ¶ 12; Wright 0050, 0058-0080, 0113-0153 and 0186-0210.

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someone should put a block on his cell phone to prevent him from engaging in

dangerous behaviors; Plaintiffs failed to do so. The Son was open to participating in

a support group for gay youth, was struggling with the lack of gay kids his age from

whom he could receive support, and was open to counseling. Moreover, Daughter 1

was very concerned that her brother’s actions endangered him, and all of Plaintiffs’

children expressed concern about the yelling going on in the family.

      Moreover, Ms. Cook’s finding was expressly predicated on her concerns about

the Son’s history of meeting older men on line and then engaging in sexual activity,

and not simply because Plaintiffs allowed him to go on a date with a boy in

Arkansas. While the Son said he had not been on “Grindr” recently because he had

a new boyfriend, Ms. Cook could reasonably suspect that the Son was at risk for

continuing his pattern of seeking sexual adult male attention over the internet if his

relationship ended, as is common with teens. Further, given the Son’s past

behaviors, Ms. Cook and this Court could reasonably conclude that it would have

been appropriate under the circumstances for JTH and/or HDH to ask that the

Son’s first date with his new boyfriend take place under some type of supervision.

Moreover, it would have been reasonable for one of the Plaintiffs to meet the young

man in-person to verify that he was not an adult.

      Further, the facts on record support the fact that Ms. Cook was working with

HDH and the Juvenile Officer (JO) to develop a safety plan which would include

counseling for the children. The JO and Ms. Cook set an appointment for the family

with a counselor, but the family did not show up. Cook, ¶¶ 21, 22, 26. A seasoned



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child abuse and neglect investigator could reasonably conclude that Plaintiffs’

failure to even get counseling for their son and put some reasonable restrictions on

his internet usage when he clearly needed and requested it was a failure to provide

care necessary for the child’s well-being.

        Ms. Cook’s action are further supported by Defendants’ expert in Child Abuse

investigations, Emerson “Skip” McGuire. 46 Chief McGuire is a 40 year veteran of

law enforcement, an expert in child sexual abuse investigations, and expert in child

sexual exploitation using the internet and social media. Based on his review of the

reports, Chief McGuire has opined that the Son “was at grave risk of harm from

sexually transmitted diseases, sexual exploitation and being trafficked.” 47 He

further opined that “based on my training, experience, and expertise that C.D.H.’s

parents were reckless in: (a) allowing persons who knew/should have known the age

of the child have sexual contact with their child and not report such contact; (b)

failing to report this perpetration and allowing this perpetrator the potential to

continue to have contact with this child and other children; (c) once knowing the

extent of the sexual conduct engaged by C.D.H., failing to seek medical examination

to determine his potential injuries and exposure to sexually transmitted diseases to

include HIV/AIDS.”48 He also opined that “C.D.H.’s father was reckless in taking his

minor daughter with him to physically confront C.D.H.’s perpetrator who was a

martial arts instructor. C.D.H.’s father’s failure to report the crime to law



46
   See: Affidavit of Emerson “Skip” McGuire.
47
   Affidavit of Emerson “Skip” McGuire, ¶ 11.
48
   Affidavit of Emerson “Skip” McGuire, ¶ 12.

                                                16
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enforcement or call in a hotline report was dangerous and violated standard POST

training and law enforcement policy and practice.”49 The Son’s nude image is

undoubtedly in the public domain, where it can be exploited and will follow him into

the future with endless potential for consequences. 50 Children like Plaintiffs’ Son

who identify as LGTBQ are especially vulnerable to exploitation due to the

sometimes confused and negative responses from family and the community. 51 This

is illustrated by the sense of isolation that HDH expressed to Ms. Cook when she

said that her father would probably have nothing to do with the family if he found

out his grandson was gay.52

        Before Ms. Cook could finish the process, Plaintiffs’ attorney’s letter of

November 23, 2018 asked Ms. Cook to recuse herself from working with the family,

and informed CD that Son would not work with CD unless court ordered. 53 Only

after the family stopped cooperating with CD, and after they failed to show for the

counseling appointment, and after Plaintiffs’ attorney’s letter, did Ms. Cook send a

referral to see if the JO felt that there was sufficient basis to file a petition in

juvenile court.54 The JO declined to file the petition, not because the JO

determined that there was insufficient evidence to establish “neglect” for purposes

of listing Plaintiffs in the Central Registry, as Plaintiffs would have this court

believe, but because “there appears to be insufficient evidence of child abuse or



49
   Affidavit of Emerson “Skip” McGuire, ¶ 13.
50
   Affidavit of Emerson “Skip” McGuire, ¶ 6.
51
   Affidavit of Emerson “Skip” McGuire, ¶ 7.
52
   Wright, 0199.
53
   Complaint, ¶ 34; Wright, 0203
54
   Wright, 0017-0021.

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neglect to bring the juvenile within the jurisdiction of the Juvenile Court” pursuant

to §211.031.1(1). A critical distinction must be made: the grounds required to bring

a juvenile under juvenile court jurisdiction must meet a clear and convincing

evidence standard; the grounds for listing someone in the Central Registry must

meet the preponderance of the evidence standard. 55 Further, the JO noted that

while declining to file a petition, there was an ongoing law enforcement

investigation and the JO was open to reconsidering its position if additional

evidence developed. Finally, the JO concluded “…this is a very complicated case and

we are hoping future reports will give us a better indication of what is actually

going on in [Son]’s life and if one or both of our agencies’ intervention could be of

help to this child.”56

        In addition, Ms. Cook, as the fact finder for purposes of making a preliminary

finding, had the discretion to make decisions about the credibility of the witnesses

and the relative weight to give each item of information presented to her. She was

free to believe or disbelieve Plaintiffs and their children on any particular point. See

Doe v. University of Arkansas-Fayetteville, 974 F.3d 858 (8th Cir. 2020).

        Plaintiffs have adduced no credible facts to show that Ms. Cook acted out of

malice or in retaliation. The only support for their argument is their request that

the court infer she was upset about some unspecified statements Plaintiffs made

about the Scott County Sheriff and/or his deputies, and their baseless claim that


55
   This is why Plaintiffs claim that they wanted to cross examine Ms. Cook about the JO’s decision not to file a
petition in juvenile court is nonsense. PI Motion, p. 28, item number 11. That the JO and law enforcement did not
pursue charges against Plaintiffs has absolutely no bearing on the decision that the CANRB had to make.
56
   Wright, 0022, ¶ 7.

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Ms. Cook called the FBI after the CANRB overturned her preliminary finding. Such

supposition, inference and speculation are insufficient to attack the motives of a

hard working public servant whose goal is to protect children and provide services

to child victims of sexual abuse. Child abuse investigators “are presumed to act in

good faith” and the Plaintiff who claims otherwise has the burden of proving

otherwise. Mitchell v. Dakota County Social Services, 959 F.3d 887, 899 (8th Cir

2020). Plaintiffs have adduced no facts to establish that Ms. Cook acted in anything

but a professional manner.

       That the CANRB ultimately overturned her finding on administrative review

is significant only to establish that CD’s procedures worked as intended, and cannot

be used to infer that Ms. Cook acted in bad faith. A governmental official is not

liable in a subsequent action merely because the official’s decision was overturned

after subsequent review. See Pierson v. Ray, 386 U.S. 547, 87 S.Ct. 1213 (1967)

(defense of good faith and probable cause is available to police officers in an action

for false arrest and imprisonment brought pursuant to 42 U.S.C. §1983). If the law

were otherwise child protection agencies would be effectively paralyzed. Child

protection cases require that child protection workers make difficult decisions,

frequently based on incomplete information that is unavailable to them when the

decision has to be made. Child abuse investigators would be chilled from making

these difficult decisions if they face personal, civil liability if their decision were

overturned. Mazor v. Shelton, 637 F.Supp. 330, 333 (N.D. Cal. 1986). State agencies




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may find it very difficult to recruit and retain qualified staff under these

circumstances.

VI. There is no basis in fact or law to grant Plaintiffs’ PI Motion.

      A. Count II of the Complaint should be dismissed for the reasons set
      forth in the Defendants’ pending Motion to Dismiss.

      The arguments warranting Count II’s dismissal as set-out in Defendants

Motion to Dismiss equally apply here and will not be repeated. Defendants will,

however, address specific points raised and cases relied upon in the PI Motion.

      B. Plaintiffs lack standing to ask for relief for anyone other than
      themselves in their IP Motion.

      In their IP Motion, pp. 2, 46, Plaintiffs assert that they are seeking “equitable

relief and others as discussed below.” The Complaint and the PI Motion do not

specify who these “others” are.

      Generally, a party “must assert his own legal rights and interests, and cannot

rest his claim to relief on the legal rights or interests of third parties.” Warth v.

Seldin, 422 U.S. 490, 498 (1975). But this rule is not absolute, as explained in

Kowalski v. Tesmer, 543 U.S. 125, 130 (2004):

             we have limited this exception by requiring that a party seeking third-
             party standing make two additional showings. First, we have asked
             whether the party asserting the right has a “close” relationship with
             the person who possesses the right. Powers v. Ohio, 499 U.S. 400, 411,
             111 S.Ct. 1364, 113 L.Ed.2d 411 (1991). Second, we have considered
             whether there is a “hindrance” to the possessor's ability to protect his
             own interests. Ibid.

The Court also noted that it has approved third party standing “when enforcement

of the challenged restriction against the litigant would result indirectly in the


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violation of third parties’ rights.” Kowalski, at 130 (emphasis in original), citing

Warth, 422 U.S. at 510. Plaintiffs have the burden to plead and prove facts to

establish third party standing.

      None of the exceptions to the third party standing rule apply here. This case

is not pled as a class action. The Complaint does not comply with the requirements

of Rule 23. Plaintiffs plead no facts to establish that they have an interest that is

“close” to these hypothetical “others” that they seek to benefit, nor do they plead or

argue any set of facts that would establish that the Defendant’s application of the

CANRB procedures against the Plaintiffs would in any way hinder the rights of any

other person.

      C. Plaintiffs lack Article III standing to request injunctive relief.

      Plaintiffs cite Spokeo, Inc. v. Robins, 136 S.Ct. 1540 (2016), as revised (May

24, 2016) in support of their argument that they have standing to seek a

preliminary injunction. In fact, Spokeo illustrates that Plaintiffs lack standing.

      In Spokeo, a consumer named Robins sued a website operator that published

inaccurate information about him in violation of the Fair Credit Reporting Act.

Spokeo’s website and search engine conducted computerized database searches and

supplied the information to the person who used the service. Spokeo contended that

Robins lacked Article III standing to sue under the FRCA. The 9 th Circuit held that

Robins had standing; the Supreme Court reversed, holding, at 1547, that to have

Article III standing plaintiff bears the burden of establishing three elements:

             The plaintiff must have (1) suffered an injury in fact, (2) that is fairly
             traceable to the challenged conduct of the defendant, and (3) that is

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             likely to be redressed by a favorable judicial decision. Id., at 560–561,
             112 S.Ct. 2130; Friends of the Earth, Inc., 528 U.S., at 180–181, 120
             S.Ct. 693.

Moreover, at the pleading stage, plaintiff must “clearly…allege facts demonstrating

each element.” Spokeo, at 1547 (citing Warth, 422 U.S. at 518.)

             1. The Plaintiffs have not suffered an “injury in fact” sufficient
             to confer Article III standing to seek a preliminary injunction.

      Plaintiffs have not suffered an “injury in fact” sufficient to confer standing.

As explained in Spokeo, at 1548, to establish an injury in fact:

      …a plaintiff must show that he or she suffered “an invasion of a legally
      protected interest” that is “concrete and particularized” and “actual or
      imminent, not conjectural or hypothetical.” Lujan, 504 U.S., at 560, 112 S.Ct.
      2130 (internal quotation marks omitted).

Accordingly, Plaintiffs bears the burden of pleading and proving each of these three

elements. For an injury to be “particularized” it must impact the plaintiff in a

personal and individual way. Spokeo at 1548. Standing is not conferred when the

injury is merely “a generalized grievance shared in substantially equal measure by

all or a large class of citizens”. Warth, 422 U.S. at 499. For an injury to be

“concrete” it must be de facto, “that is, it must actually exist”, it must be real and

not abstract. Spokeo at 1548. A plaintiff may not “allege a bare procedural violation,

divorced from any concrete harm, and satisfy the injury-in-fact requirement of

Article III.” Spokeo at 1549. “An allegation of future injury may suffice if the

threatened injury is ‘certainly impending,’ or there is a ‘substantial risk’ that the

harm will occur.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)

(quoting Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 n5 (2013)).



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           Here, Plaintiffs have not suffered an injury in fact. There is no credible

argument that they face a substantial risk from a “certainly impending” injury.

First, as Defendants established in their Motion to Dismiss and in their arguments

below, Plaintiffs do not have a constitutionally protected due process right at a pre-

deprivation review process to obtain discovery of CD’s entire, un-redacted file, to

compel the production of evidence, to receive copies of documents free of charge, or

to cross-examine witnesses at the pre-deprivation CANRB hearing. Second, even if

they had those rights, Plaintiffs suffered no injury. The CANRB overturned the

preliminary finding following the procedure that Plaintiffs elected to follow and now

challenge after the fact. Plaintiffs were never listed in the Central Registry as

perpetrators of child abuse or neglect, so the harms that they allege may transpire

if the CANRB decided differently never transpired.

           Finally, Plaintiffs have no credible argument that they face a substantial,

concrete risk of a “certainly impending” injury. Plaintiffs support their argument on

this point by asking this court to infer that Ms. Cook continued her campaign

against the Plaintiffs by contacting the FBI in frustration after the CANRB issued

its decision and by the fact that there have been two recent calls to the Plaintiffs’

home pertaining to their daughter. This claim is baseless. First, Ms. Cook did not

“go to” the FBI about this case either before or after the CANRB issued its

decision.57 Ms. Cook has no personal knowledge of how the FBI became involved,

who reported the matter to the FBI and what prompted the FBI to conduct an



57
     Cook, ¶37.

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investigation.58 Moreover, Ms. Cook took no action involving Plaintiffs after the

CANRB concluded the case other than to close her case file. 59 Second, CD did not

handle the subsequent hotline reports involving the Plaintiffs’ daughters as hotline

investigations.60 They were handled and concluded as family assessments 61, and

Plaintiffs faced no risk of a Central Registry listing. Also, while Ms. Cook does

supervise the Scott County Office, she played no part in conducting or concluding

these family assessments.62

         Moreover, Plaintiffs contend that the Scott County Sheriff’s Department

action in recent months in communicating with their 16-year old daughter by social

media is evidence in support of their claim against CD. Plaintiffs fail to explain

how the Sheriff’s Department actions can be attributed to CD. The Sheriff’s

Department is not a party to this case, and CD and the Sheriff’s Department are

separate, independent agencies with separate missions.63 It is, of course, true that

CD and the Sheriff’s Department work together when conducting hotline

investigations and taking actions to protect children. However, in this case, any

action by the Sheriff’s Department’s in reaching out to Plaintiffs’ daughter was not

part of a joint operation with CD.64 CD and its employees who handled the family

assessments knew nothing of such Sheriff’s Department activity until Plaintiffs


58
   Cook, ¶37. Even had Ms. Cook contacted the FBI, it would not have been improper. As explained in Defendants’
Motion to Dismiss, a sufficient basis exist in the facts Plaintiffs acknowledge for the FBI to conduct an investigation.
59
   Cook, ¶ 36.
60
   Affidavit of Elizabeth Michelle Palmer, ¶¶ 7-9; Affidavit of Jeri Leigh Nichols, ¶ 7; Affidavit of Heather Sides, ¶ 7.
61
   Affidavit of Elizabeth Michelle Palmer, ¶ 14; Affidavit of Jeri Leigh Nichols, ¶ 10; Affidavit of Heather Sides, ¶ 10.
Section D.1 below discusses family assessments and how they are handled.
62
   Affidavit of Elizabeth Michelle Palmer, ¶ 10; Affidavit of Jeri Leigh Nichols, ¶ 12; Affidavit of Heather Sides, ¶ 12.
63
   Defendants discuss this in detail in their Motion to Dismiss so it is unnecessary to reproduce that argument here.
64
   Affidavit of Elizabeth Michelle Palmer, ¶ 11; Affidavit of Jeri Leigh Nichols, ¶ 11; Affidavit of Heather Sides, ¶ 11.

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raised it in this lawsuit. No action by the Sheriff’s Department played a part in the

family assessment process. The bottom line is that CD has no pending matter

involving Plaintiffs and their children, other than this lawsuit. 65 There is therefore

no credible, concrete risk that Plaintiffs will be “injured” by the CANRB procedures

that benefited them in the past, and that they now challenge as unconstitutional.

Absent a concrete, particularized injury, Plaintiffs’ complaint of harm is only a

generalized, hypothetical grievance that any Missouri resident may claim to

possess. Under, Warth, this hypothetical, generalized grievance that fails to confer

Article III standing.

                     2. The Plaintiffs have not suffered any injury-in-fact, so
                     Plaintiffs cannot trace a non-existent injury to the Defendant

           The second element of the Article III standing is that plaintiffs’ injury in fact

must be fairly traceable to the Defendants’ conduct. Plaintiffs cannot establish this

element because there is no constitutionally cognizable “injury-in-fact” to be traced

back to the CD and DSS

                     3. The Plaintiffs have not suffered an injury-in-fact, so this case
                     is not ripe for adjudication on a Motion for Preliminary
                     Injunction, and any preliminary injunction would be an
                     improper advisory opinion.

           As explained in North Carolina v. Rice, 404 U.S. 244, 246 (1971) (citations

omitted):

                     federal courts are without power to decide questions that cannot affect
                     the rights of litigants in the case before them. To be cognizable in a
                     federal court, a suit ‘must be definite and concrete, touching the legal
                     relations of parties having adverse legal interests. * * * It must be a

65
     Affidavit of Elizabeth Michelle Palmer, ¶ 15.

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             real and substantial controversy admitting of specific relief through a
             decree of a conclusive character, as distinguished from an opinion
             advising what the law would be upon a hypothetical state of facts.’
             However, ‘(m)oot questions require no answer.’ Mootness is a
             jurisdictional question because the Court ‘is not empowered to decide
             moot questions or abstract propositions,’; our impotence ‘to review
             moot cases derives from the requirement of Article III of the
             Constitution under which the exercise of judicial power depends upon
             the existence of a case or controversy.’ Even in cases arising in the
             state courts, the question of mootness is a federal one which a federal
             court must resolve before it assumes jurisdiction.

An advisory opinion is “an opinion ‘advising what the law would be upon a

hypothetical state of facts.’ ” Pub. Water Supply Dist. No. 8. v. City of Kearney, Mo.,

401 F.3d 930, 932 (8th Cir. 2005). A case is not ripe for adjudication when it is

based on a hypothetical set of facts because to do so would be a poor use of scarce

judicial resources. Id.

      This case presents the Court with a request for relief based upon hypothetical

facts. Plaintiffs seek to enjoin CD and the CANRB from applying procedures that

have been upheld against essentially the same arguments in Jamison v.

Department of Social Services, CD, 218 S.W.3d 399 (Mo. 2007), and which they

successfully invoked to obtain requested relief. Plaintiffs have not explained why

they failed to challenge the procedures before the case went to hearing before the

CANRB. Any real risk has passed. CD has no pending investigation or assessment.

There is no pending request for CANRB administrative review. In effect, Plaintiffs

seek relief based upon their hypothesis that CD might conduct an investigation of

child abuse or neglect involving their family in the future and might issue a




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substantiated finding against them at some unspecified time in the future. Under,

Public Water Dist., such hypothetical facts fail to confer Article III standing.

      D. The interactions between the Plaintiffs’ family, CD and the Scott
      County Sheriff’s Department after this lawsuit was filed do not
      provide any grounds for this court to consider or grant a
      preliminary injunction.

           1. Recent reports involving the Plaintiffs’ family were not reports
           of child abuse or neglect and were handled properly.

      Plaintiffs contend that there have been two subsequent “call outs” with

allegations of child neglect pertaining to their 13 year old daughter, that the worker

alleged that the 13 year old girl was making videos of a sexual nature, but produced

no evidence to support this allegation, and that they fear having another finding of

child neglect or abuse against them. This claim misstates the facts and is baseless

as a matter of law.

      In 2015 Missouri’s General Assembly enacted legislation requiring CD to

respond to hotline reports pertaining to juveniles with “problem sexual behaviors”

§210.148 RSMo, to provide children and families with an alternative path for

treatment and services, and to attempt to prevent younger children from being

brought under the jurisdiction of the juvenile court as a status offender

(§211.031.1(2)) or a juvenile delinquent (§211.031.1(3)). This section provides CD

with the legal authority to work with families whose children have exhibited sexual

behaviors towards other children. Before the General Assembly enacted this

statute, CD lacked clear authority to assess families where children may be

engaging in sexually inappropriate behaviors with other children. In many parts of


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the state this was problematic because CD was unable to mitigate the risk and help

a family before a child suffered additional harm. The statute defines a “juvenile

with problem sexual behaviors as “any person, under fourteen years of age, who has

allegedly committed sexual abuse against another child.” §210.148.3. In responding

to these reports the law requires CD to use the “family assessment and services

approach” as provided in §210.145.16. §210.148.1. CD does have the authority to

commence an investigation if it determines based on the facts that an investigation

is required. §210.145.2.

      CD has promulgated regulations governing how these reports are to be

handled. §210.145.5 RSMo. 13 CSR 35-31.027. CD must notify a parent and obtain

consent before interviewing the child who is alleged to have problem sexual

behaviors. 13 CSR 35-31.027(5)(A). In responding, CD uses a family assessment and

services approach, meaning “an approach by…[CD]which provides for the promote

assessment of a child who has been alleged to have engaged in problem sexual

behavior and of the child’s family, including risk of abuse and neglect and, if

necessary, the provision of community-based services to reduce the risk and support

the family.” 13 CSR 35-31.027(1)(A). CD may offer services to both the alleged child

“perpetrator” and the alleged child “victim”. 13 CSR 35-31.027(3)(B). Family

participation in services is voluntary. 13 CSR 35-31.027(3)(C). However, CD does

have the authority and responsibility to refer a matter to the JO in severe cases,

where there has been serious injury, use of a weapon, when there are repeated




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incidents or when the juvenile declines to engage in the assessment process. See 13

CSR 35-31.027(4) for more details.

      CD handled one of the recent cases that Plaintiffs refer to in the PI Motion as

a report of a juvenile with problem sexual behaviors and the other as a family

assessment. They were handled following the family assessment and services

approach, not as investigations. The CD team did not convert either case into an

investigation, and both cases have been concluded.

      As is seen, Plaintiffs grossly mischaracterize what happened and what they

are asking the court to infer, both by what they say and by what they omit. First,

the Plaintiffs’ Memorandum of Law in Support of PI Motion inaccurately conveys

the facts set out in Plaintiff Father’s affidavit describing his perspective on what

happened. Neither the father’s affidavit nor the Defendants Affidavits support an

assertion that the Children’s Division worker alleged that the 13 year old girl was

making videos of a sexual nature. Instead, the facts are CD received a hotline report

that the daughter was making videos of a sexual nature, and the worker simply

responded to that report, as required to by §210.148 RSMo and 13 CSR 35-31.027.

There is no basis to imply that a CD worker, or CD itself, was making the

allegations when the facts of record do not support such an inference. Second, the

CD did not handle this referral as an investigation; CD handled the case as a family

assessment and services approach. Third, Defendants are under no obligation at

that stage in the process to “offer” Plaintiffs “evidence of the existence” of “videos of

a sexual nature” during a family assessment or investigation. (Father’s Affidavit,



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paragraph 16). CD conducts assessments and investigations to ascertain the facts

from evidence provided by witnesses, and then decides what do based on the facts

learned. CD’s investigator notified the parents that CD received the report, asked

parental permission to interview the child, received permission, and the child

denied that she made sexual videos. That CD did not uncover evidence that the

sexual videos existed is not surprising, because SnapChat automatically deletes the

message after it is received, leaving no record of the communication. Father’s

Affidavit, paragraph 10. Neither the father’s affidavit nor the Plaintiffs’

Memorandum refer to the fact that CD concluded these assessments with no

recommendation for additional action or services.

                     2. The Scott County Sheriff’s Deputy’s apparent attempt to
                     communicate with Plaintiff’s 16-year old daughter has nothing
                     to do with the these Defendants in this case.

            Next, the Plaintiffs allege that on October 20, 2020, Deputy Sheriff Courtland

Shannon friended Plaintiffs’ 16 year old daughter on Facebook. (Father’s Affidavit,

paragraphs 7 through 15.) The Father’s affidavit and the Plaintiffs’ memorandum,

however, do not allege that CD or its employees even knew of these activities, much

less participated in or condoned them. In fact, they did not know. 66 Furthermore,

while CD and its team members do work with law enforcement officials in

conducting investigations, as required by law, CD and law enforcement

investigations are separate and conducted for separate purposes, as Defendants

discuss elsewhere. The Sheriff’s Department apparently took its actions without



66
     Affidavit of Elizabeth Michelle Palmer, ¶ 11; Affidavit of Jeri Leigh Nichols, ¶ 11; Affidavit of Heather Sides, ¶ 11.

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prior notice to, or consultation with, anyone at the CD. Ms. Cook, Ms. Palmer and

the CD investigators who worked on the two family assessments knew nothing of

the actions until Plaintiffs raised it in this case. Accordingly, any actions by the

Sheriff’s Department have no bearing on whether this Court should enter a

preliminary injunction against a state agency.

      E. This Court should deny the Plaintiffs’ Motion for a Preliminary
      Injunction because none of the Dataphase factors apply.

      As the 8th Circuit explained in Dataphase, 640 F.2d at 114, in deciding

whether to issue a preliminary injunction, the district court must consider “(1) the

threat of irreparable harm to the movant; (2) the state of balance between this harm

and the injury that granting the injunction will inflict on other parties litigant; (3)

the probability that movant will succeed on the merits; and (4) the public interest.”

The movant must establish the threat of irreparable harm, with the absence of

irreparable injury alone as sufficient grounds for denying a preliminary injunction.

Dataphase, at 114 and footnote 9. Defendants will take these factors out of order.

             1. The Plaintiffs have no chance of success on the merits
             because Missouri’s procedures for review of CD’s preliminary
             findings of child abuse or neglect do not violate the Plaintiffs
             right to procedural due process.


      Plaintiff’s PI Motion is meritless because Plaintiffs have no chance of success

on the merits.

      The United States Supreme Court has held “the fundamental requirement” of

procedural due process is reasonable notice and “the opportunity to be heard ‘at a

meaningful time in a meaningful manner.’” Matthews v. Eldridge, 424 U.S. 319,

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333, (1976) (quoting Armstrong v. Manzo, 380 U.S. 545, 552 (1965)). [emphasis

added]. Due process does not dictate the same procedures in every situation; rather,

“due process is flexible and calls for such procedural protections as the particular

situation demands.” Morrissey v. Brewer, 408 U.S. 471, 481 (1972). Further, “[i]n

general, ‘something less’ than a full evidentiary hearing is sufficient prior to

adverse administrative action.” Cleveland Bd. of Education v. Loudermill, 470 U.S.

532, 545 (1985) (citing Matthews, 424 U.S. at 343). In the context of the termination

of a tenured, government employee “the pretermination hearing need not

definitively resolve the propriety of the discharge. It should be an initial check

against mistaken decisions— essentially, a determination of whether there are

reasonable grounds to believe that the charges against the employee are true and

support the proposed action.” Id. at 545. Due process in the administrative hearing

context does not require “that a fair hearing is one that necessarily must follow the

traditional common law adversarial method. Rather, on judicial review the question

presented is whether, in the particular case, the individual has had an opportunity

to answer, explain, and defend, and not whether the hearing mirrored a common

law criminal trial.” Gorman v. University of Rhode Island, 837 F.2d 7, 14 (1st Cir.

1988). The 1st Circuit further warned that “undue judicialization of an

administrative hearing, particularly in an academic environment, may result in an

improper allocation of resources, and prove counter-productive.” Id., at 15.67 As the



67
   Plaintiffs favorably cite Gorman in their brief in support of the PI Motion. Gorman was a challenge by a student
alleging that the University of Rhode Island violated his right to procedural due process. He argued, among other
things, that he had a due process right to a transcript or record of the administrative disciplinary hearing, the right

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1st Circuit further explained “on review, the courts ought not to extol form over

substance …. The question presented is not whether the hearing was ideal, or

whether its procedure could have been better. In all cases the inquiry is whether,

under the particular circumstances presented, the hearing was fair, and accorded

the individual the essential elements of due process.” Id. at 16. In this case, the

CANRB process fully meets that standard, and Plaintiffs seek to unnecessarily and

prejudicially “judicialize” the process.

        To determine what procedures are constitutionally sufficient the Courts

apply the 3 part balancing test in Matthews, which Defendants set out in detail

their Motion to Dismiss. Rather than rehashing previous arguments, Defendants

will focus on applying the Mathews analysis to the three categories of relief that the

Plaintiffs are specifically asking this Court to order as a preliminary injunction.

Missouri’s procedures for administrative and judicial review of CD’s preliminary

findings fully comply with procedural due process requirements.

                          a. The Plaintiffs elected the remedy of informal
                          administrative review through the CANRB process and
                          their claim for equitable relief is barred by the doctrine
                          of election of remedies.


        Due process requires that a person who believes she or he is adversely

impacted by governmental action is reasonable notice and an opportunity for a

hearing. Plaintiffs received notice, had their pre-deprivation hearing over a year

ago, and received the relief that they requested. Plaintiffs brief in support of their


to cross-examine witnesses and the right to be represented by counsel. The 1 st Circuit held that due process did
not require those protections in a university student disciplinary hearing.

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PI Motion studiously ignores the fact that Missouri law gave the Plaintiffs a choice

of remedies. First, they had the option to seek informal, administrative review

through the CANRB process. §§ 210.152, 210.153 RSMo and 13 CSR 35-31.025.

Under that process the Plaintiffs are not listed in the Central Registry unless and

until the CANRB conducts a review and upholds CD’s preliminary finding following

the procedures that have been debated at length in this lawsuit. If aggrieved by the

CANRB decision, Plaintiffs had right to file a Petition for de novo in Missouri circuit

court. §210.152. This process enables the Plaintiffs to have their cake, and eat it,

too. Second, Plaintiffs could waive the administrative review process and seek de

novo judicial review directly in Missouri circuit court. §536.100. Under the second

remedy, CD will list the individuals in the Central Registry because under the

statute they must waive their right to a pre-deprivation, administrative review

process to skip CANRB review and proceed directly to circuit court. However, had

Plaintiffs elected that remedy they could have asked CD to stay entering their

names in the Central Registry, or they could have asked the court to order that CD

stay listing them until the Court made a decision. §536.120.

      Under both remedies, at the de novo judicial review stage Plaintiffs have the

right to compulsory process to compel the production of witnesses and evidence, the

right to cross examine witnesses, the right to discovery under the Missouri Rules of

Civil Procedure, the right to ask the court to order CD to waive any payment for

reimbursement costs for producing documents, and the opportunity to argue to the

court that Plaintiffs had a right of access to an unredacted copy of Defendants’ file.



                                          34
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Further, at the de novo judicial review stage CD has the burden of proof to establish

that the Plaintiffs were responsible for child abuse and/or neglect as those terms are

defined in §210.110 RSMo. The Supreme Court of Missouri has stated that this

provides Plaintiffs with an even more extensive review process than the Missouri

Administrative Procedures Act would have required. Jamison, at 414.

      The doctrine of election of remedies simply requires a Plaintiff to choose

between different remedies allowed by law on the same set of facts, where the party

has but one cause of action, one right infringed and one wrong to be addressed.

Popp Telcom v. American Sharecom, Inc., 210 F.3d 928, 934 (8th Cir. 2000).

Plaintiffs elected to pursue the informal administrative, pre-deprivation review

process, followed by an opportunity for a full trial de novo if they disagreed with

CANRB’s decision; they did not elect to immediately seek circuit court, de novo

judicial review with the full procedural safeguards. Pursuing the process Plaintiffs

elected, they successfully convinced the CANRB to overturn the preliminary

finding. The CANRB decision, not the preliminary finding, is the CD’s final

decision. 13 CSR 35-31.025(11). Therefore, Plaintiffs now have no legal cause to

complain about the process because they received a favorable result from the

remedy elected.

                    b. The Plaintiff received notice of Ms. Cook’s preliminary
                    that was constitutionally sufficient to appraise the
                    Plaintiffs of her findings and the facts underlying her
                    findings.

      Plaintiffs contend that the notice of the preliminary finding failed to meet

due process requirements because it did “not tie together how or why the Brandon

                                          35
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Cook and Tae Kwan Do instructor incidents were evidence of neglect other than

stating the Plaintiff Parents allowed their son to drive a car, have a cell phone, and

access the internet, including social media.”68 Of course, this statement grossly

mischaracterizes Ms. Cook’s preliminary finding. 69 Their position is also wholly

without merit as a matter of law. The notice that the Plaintiffs received was more

than sufficient to satisfy due process standards.

           Reasonable notice for due process purposes is “notice reasonably calculated,

under all the circumstances, to apprise interested parties of the pendency of the

action and afford them an opportunity to present their objections.” Mullane v.

Central Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950). The due process

clause does not require that notice be provided in any particular form or at a

particular time during the proceedings. Notice to a party to an administrative

proceeding need not come from the institution or the adjudicators if the accused is

alerted to the allegations by the party who raised the complaint. Doe v. University of

Arkansas-Fayetteville, 974 F.3d 858, 867 (8th Cir. 2020). Oral notice in some

contexts is constitutionally sufficient. A.S. v. Lincoln County R-III School District,

429 F.Supp. 659 (U.S. E.D Mo. 2019) (school disciplinary proceedings). Nor in the

administrative context, especially at a preliminary finding stage, does reasonable

notice require a state administrative agency to provide a detailed analysis of its

case-theory tying the evidence to the facts, Plaintiffs fail to cite any case law to

support their argument.


68
     PI Motion, p 19.
69
     Plaintiffs had been provided the preliminary finding for the CANRB.

                                                           36
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           The notice of the preliminary finding in this case was more than

constitutionally sufficient to meet procedural due process requirements. It set out

the elements of the definition of “neglect” as that term is defined in state law 70 and

it summarized facts that Ms. Cook found applied to each element of that definition.

Further, prior to the hearing Defendants provided Plaintiffs with a redacted copy of

Ms. Cook’s report that contained her witness interview notes. Plaintiffs therefore

knew what the preliminary finding entailed and the facts on which it was based.

Notably, Plaintiffs do not explain how they were prejudiced by any inadequate

notice. They have not alleged that Ms. Cook or CD unfairly surprised them at the

CANRB hearing by raising facts or arguments that were not included in the notice

or in the materials CD produced. Of course, they were not prejudiced because they

raised their objections and the CANRB granted them the relief that they sought.

                                c. The Plaintiffs do not have a due process right to formal
                                discovery and the right compel the production of all
                                evidence, including a copy of CD’s entire file, at the pre-
                                deprivation, CANRB hearing.

           The Plaintiffs argue that they are entitled to a preliminary injunction

because they have a constitutional “right to obtain all evidence, including disclosure

of Children’s Division’s entire, unredacted file, and to compel production of all

evidence if necessary”71 at the pre-deprivation stage of the review process. Tellingly,

Plaintiffs fail to cite a single case that supports their position.




70
     §210.110(12), RSMo
71
     PI Motion, pp. 2 and 46.

                                                   37
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     The private interest. Any party to a dispute, of course, will frequently argue that

as a matter theory and principle, they have an interest in and a right to the

production and discovery of every scrap of evidence in the hands of the opposing

party that pertains to the adverse decision against them. But that is not the law

and it never has been. The law is replete with examples in both civil and criminal

cases where statutes, regulations and the common law have held that certain

categories of information are not discoverable for various policy reasons, even

though the information may be relevant in a particular case. Examples include:

attorney/client privilege, doctor/patient privilege, health care records 72, protection of

confidential informants73, law enforcement records74, substance abuse treatment

records75 and records pertaining to child abuse and neglect.76 In fact, one district

court decision cited in Plaintiffs PI Motion rejected the argument that a student

accused of sexually abusing another student in a university disciplinary proceeding

was entitled as a matter of procedural due process to the mandatory disclosure of

exculpatory evidence and to subpoena witnesses by the university during the

administrative review process. Doe v. University of Miss., 2018 WL 3570229 (USDC

S.D.Miss. 2018).




72
   See, for example, the Health Insurance Portability and Accountability Act of 1996 (HIPAA), Pub.L. 104-191
(August 21, 1996) and subsequent amendments.
73
   §§ 210.109.3(3), 210.150.2(4), (5), 210.150.3(2),(3) RSMo; State ex rel. Dept. of Social Services, Div. of Children’s
Services v. Tucker, 413 S.W.3d 646 (Mo. 2013); 42 U.S.C. §5106a(b)(3); 76 A.L.R.2d 262 Accused’s right to, and
prosecution’s privilege against, disclosure of identity of informer.
74
   §610.100 RSMo.
75
   See, e.g. 42 USC 290dd-2 and 42 CFR Part 2.1 – Confidentiality of Substance Use Disorder Patient Records.
76
   §210.150.1 RSMo; 42 USC 671(a)(8) and CAPTA discussed elsewhere in this brief.

                                                           38
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     Defendants submit that there is a strong, private interest in keeping the current

informal CANRB procedures; they allows individuals subject to a preliminary

finding of child abuse and neglect to elect an informal, inexpensive, and

procedurally simple pre-deprivation remedy while the case is within CD. Imposing

such procedures as the rights to discovery and to compel production of evidence will

make CANRB proceedings more complex and expensive. This will make it more

difficult for those who cannot afford or who are unable to retain counsel to represent

them using the more complex procedures.                 77


     Plaintiffs were entitled to receive “information and findings” supporting the

preliminary finding, §210.150 RSMo at the pre-deprivation hearing stage, and they

did receive information and findings. CD, through the Document Management Unit

(DMU), produced information and findings pertaining to the incident, and much

more:

        On May 28, 2019 the Defendants produced to the Plaintiff JTH’s lawyer

         approximately 80 pages of redacted records78 pertaining to the November 7,

         2018, investigation free of charge which included, among other things: the

         Family Risk Assessment Map that Ms. Cook prepared; the Three Houses

         assessment tools that Ms. Cook used in her assessment of the family; the

         December 6, 2018, Case Consultation form authorizing Ms. Cook to request

         placement of Son in alternative care executed by Ms. Cook’s supervisor; the


77
   Over the last three years only 34% of individuals who requested a CANRB hearing were represented by a lawyer.
Affidavit of Sara Smith, ¶ 15.
78
   The DMU redacted information which would have identified the hotline reporter, DCN numbers and social
security numbers. See Wright, Exhibits A1, B1 and C1 (Redaction Logs).

                                                       39
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        CD referral of the case to the JO on December 7, 2018, and the juvenile

        officer’s response; Plaintiff Father’s lawyer’s letter of November 23, 2018, to

        CD asking Ms. Cook and the Scott County Division office to recuse from

        further involvement in the case and notifying CD that from that point

        further “[Son] and his family will cooperate with DFS79 through counsel and

        only by court order.”; CD’s form letter to the hotline reporter notifying the

        hotline reporter of the disposition of the case as required pursuant to

        §210.145.18 RSMo; a copy of the January 7, 2019, letters to the Plaintiffs

        notifying them that she had made the preponderance of evidence finding,

        summarizing the reasons for her finding and notifying them of their right to

        seek administrative or direct judicial review of the finding; a copy of CD ’s

        CA/N1 Report pertaining to the November 7, 2018, hotline report containing

        the information recorded by the Hotline Operator when the report was

        received and how the report was initially classified using the structured

        decision making procedures included in the information system; a list of prior

        hotline reports pertaining to the family members contained in CD’s

        information system; a copy of Ms. Cook’s investigative conclusions; a copy of a

        letter to the Scott County Prosecuting Attorney dated January 7, 2019

        pertaining to the case; the Assessment and Services Section of CD’s files

        containing Ms. Cooks’ documentation pertaining to her assessment of the

        family; and last, but most important, Ms. Cook’s investigation notes


79
 Defendants understood this to refer to CD of DSS. DFS as an entity was eliminated by Executive Order of
Governor Holden and then by subsequent legislation.

                                                      40
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         and investigation report pertaining to her investigation of the

         incident.80

        On June 28, 2019, the Defendants produced to the Plaintiff JTH’s lawyer an

         additional 103 pages of records pertaining to the November 7, 2018,

         investigation free of charge which included, among other things: CD’s records

         pertaining to several81 reports to the Hotline reporting that Plaintiff’s son

         had snuck out of the house and reportedly had sex with Deputy Brandon

         Cook which were handled as non-caretaker referrals 82 and closed; the

         documents pertaining to a hotline report involving the Plaintiffs’ family

         which was received on June 4, 2012, and concluded on July 4, 2012 as a

         family assessment. Ms. Cook handled that case when she was an investigator

         before she was promoted to Circuit Manager; CD’s records pertaining to a

         hotline report regarding the Plaintiffs’ family that was received on August

         18, 2008, and found to be unfounded, apparently on the same day. 83




80
   See Wright, ¶ 10; Wright, 0001-0080 is a complete copy of the documents Defendants produced to Plaintiff JTH’s
counsel on May 28, 2019.
81
   It is not unusual for CD to receive multiple reports to the hotline. Every mandatory reporter has a non-delegable
duty to report individually. §210.115.3 RSMo. So, if several mandatory reporters work a case of suspected child
abuse or neglect, CD frequently receives a separate report from each reporter.
82
   Under Missouri law mandatory reporters are required to report suspected incidents of child abuse or neglect
even where the alleged perpetrator may not be a person responsible for the care, custody or control of the child.
§210.115 RSMo. In CD’s jargon these are referred to as “non-caretaker referrals.”
83
   Wright, ¶ 11; Wright, 0081-0183 is a complete copy of the documents that Defendants produced to Plaintiff
JTH’s counsel on June 28, 2019.

                                                        41
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        On July 30, 2019, Defendant produced 27 pages of CD’s records containing a

         copy of Ms. Cook’s report pertaining to her investigation of the November 7,

         2018, hotline report to HDH’s lawyer, Hugh Eastwood, free of charge.84

Plaintiffs cannot complain that they lacked notice of the facts and reasons

underlying Ms. Cooks’ preliminary finding. They had her findings and her report

that contained her notes from the investigation.

         The Missouri Court of Appeals has held that the notice requirement in

§210.152 requires CD to provide notice that CD has “made a determination about

the ultimate issue, whether ‘abuse or neglect’ exists” and does not limit CD’s

evidence in the circuit court at trial de novo to the incidents of abuse set out in the

notice. C.S. v. Department of Social Services, CD, 491 S.W.3d 636, 647 (Mo.App.

W.D. 2016). The notice requirement is fact specific and will vary with the

circumstances and conditions presented. Id., at 649. Plaintiffs had Ms. Cook’s

findings, her redacted investigation report and her investigation notes. They knew

the basis for the decision and the facts supporting them. Procedural due process

does not elevate form over substance. Plaintiffs had more than sufficient evidence to

be on notice what the issues would be in the CANRB hearing and what they needed

to tell their side of the story.

         The only specific complaints raised in the PI Motion about the discovery are

that Defendants did not produce Spring Cook for a deposition, Defendants did not

produce a CyberTip that Ms. Cook mentioned in her narrative dated December 7,


84
  Wright, ¶ 9; Wright, 0184-0210 contains a complete copy of the documents that the Defendants produced to
Plaintiff HDH’s lawyer on July 30, 2019.

                                                     42
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2018, and failed to produce Corporal Hamlett’s police report and records from a

Family Centered Services Case dated April 11, 2017 – December 13, 2017. 85 The

Family Centered Services Case of course, predated the hotline incident and was not

mentioned by Ms. Cook as a basis for making her decision to make a preliminary

finding86, so it is hard to see how the alleged failure to produce this record has any

bearing on the disposition of the incident in question here. Moreover, Plaintiffs have

failed to explain how they were prejudiced by the alleged failure to produce these

records or by their inability to depose Ms. Cook before the pre-deprivation CANRB

hearing. Of course, they cannot because the CANRB decided in their favor.

        The Public Interest. The State and the public, on the other hand, have a long

recognized, compelling interest in investigating reports of child abuse and neglect

and taking action to protect children who may have been or are at risk of being

abused or neglected, even from their own parents. Mitchell, 959 F.3d at 897. That

interest extends to protecting some evidence and information from disclosure at all,

or at certain stages in the process, to ensure that children and witnesses can be

protected, and investigations (especially criminal investigations) can proceed

without being compromised by the premature release of information. 87

        In the context of child abuse and neglect investigations, for example, federal

and state law limits the circumstances under which the identity of a reporter to a

child abuse and neglect hotline is disclosed. Missouri law prohibits the disclosure of


85
   PI Motion, p. 24.
86
   Wright, 0001-0210.
87
   See Affidavit of Emmerson “Skip” McGuire, ¶ 8. . See generally 76 A.L.R.2d 262, Accused’s right to, and
prosecution’s privilege against, disclosure of identity of informer.

                                                        43
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the identity of a person making a report of child abuse or neglect to CD’s hotline to

alleged perpetrators and parents. §210.150.2(4), (5) and 210.150.3(2) and (3). RSMo.

State ex rel. Dept. of Social Services, Division of Children’s Services v. Tucker, 413

S.W.3d 646 (Mo. 2013).88 The Supreme Court of Missouri has noted that there are

strong public policy reasons for providing protections for children and reporters in

child abuse and neglect cases.

                 Child victims of abuse and neglect might be further traumatized by the
                 experience of facing their abuser and being subject to cross
                 examination. Cf. State v. Uelentrup, 910 S.W.2d 718, 722 (Mo.App.
                 E.D.1995) (recognizing the purpose of Missouri's Child Victim Witness
                 Protection Law, sec. 491.675 et seq., as an attempt to “minimize the
                 emotional and psychological trauma to the alleged child victim”).
                 Additionally, people who might otherwise report child abuse or neglect
                 may not do so if anonymity is denied, as could occur if reporters could
                 be subpoenaed. Cf. State v. Rollie, 962 S.W.2d 412, 415 (Mo.App.
                 W.D.1998) (explaining that the purpose of withholding the identity of
                 confidential informants is “to protect and further public interest in law
                 enforcement by encouraging citizens” to report crimes).

Jamison, 218 S.W.3d at 416, n. 19. Missouri law further authorizes CD to

determine whether release of identifying information may place a person’s life or

safety in danger and to decline to release that information. §210.150.2(4), (5) and

210.150.3(2) and (3). RSMo. This is particularly important in cases involving

known, suspected or potential domestic violence. Individuals who have a history of

violent behavior may pose a threat to the lives and safety of hotline reporters and/or

their families. The state has an interest in mitigating the risk that an individual

with information about suspected child abuse may be deterred from making a



88
 See also State ex rel. Department of Social Services v. Dougherty, 568 S.W.3d 153 (Mo.App. E.D. 2018); State v.
Moesch, 738 S.W.2d 585 (Mo.App. E.D. 1987); Young v. Pitts, 335 S.W.3d 47 (Mo.App. W.D. 2011).

                                                        44
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report because of a fear for the safety of themselves and their families. In other

cases, the only persons with information about suspected child abuse or neglect are

close family members of the suspected perpetrator, and they may be reluctant to

report their own family member if they know that the family member will find out

who reported them. Keeping the identity of the reporter confidential when the

reporter is a family member frequently serves to help preserve family relationships

that are so crucial to protecting and nurturing children.

        In addition, federal law recognizes the same policy imperatives regarding

child abuse and neglect cases and requires states to have laws and procedures in

place to protect the confidentiality of information pertaining to child abuse and

neglect reports and foster care as a condition for receipt of federal funding. 89 42

USC §671(a)(8). Federal law requires states to have procedures that provide

immunity from civil and criminal liability to individuals who make good faith

reports of suspected abuse and neglect to the state’s child abuse and neglect hotline.

42 USC §5106a(b)(2)(B)(vi) and (vii). Moreover, 42 U.S.C.A. § 5106a(b)(3) provides:

                 With regard to clauses (vi) and (vii) of paragraph (2)(B), nothing in this
                 section shall be construed as restricting the ability of a State to refuse
                 to disclose identifying information concerning the individual initiating
                 a report or complaint alleging suspected instances of child abuse or
                 neglect, except that the State may not refuse such a disclosure where a
                 court orders such disclosure after such court has reviewed, in camera,
                 the record of the State related to the report or complaint and has found
                 it has reason to believe that the reporter knowingly made a false
                 report.




89
  Missouri receives federal funding through the Title IV-E and through the Federal Government’s child abuse
prevention and treatment and adoption reform legislation (CAPTA).

                                                       45
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Thus, CD has a compelling interest in controlling the release of information in its

records, especially at the pre-deprivation hearing stage.

        To the extent the Court contemplates entering a preliminary injunction, any

order would have to be confined to this case and not apply generally in all cases, for

several reasons. First, CD’s records pertaining to a family may contain highly

sensitive, personal, sometimes embarrassing and frequently private information

pertaining to the child, family members and witnesses that would be damaging to

the interests of the individuals involved if it were to be released. 90 CD is charged by

law with ensuring the confidentiality of these records. §210.150.1 RSMo. Second,

CD’s records may also contain law enforcement records, including otherwise closed

records and information pertaining to pending law enforcement investigations that

may prejudice the ability of law enforcement to complete the investigation if the

information is released. §610.100 RSMo. Scroggins v. Department of Social Services,

CD, 227 S.W.3d 498 (Mo.App. W.D. 2007). In Scroggins a prosecuting attorney filed

petition to enjoin DSS from releasing investigative records to the press pertaining

to a child fatality that was investigated by law enforcement and CD pursuant to the

Director’s authority to release records under §210.150.5 RSMo. The trial court

enjoined DSS but the Missouri Court of Appeals reversed in part noting that the

                 Director’s discretion does not, however, extend to those investigative
                 records and reports contained in its files that were generated by law
                 enforcement agencies and provided to the Children’s Division. Such
                 investigative reports are closed records under the clear language of
                 §610.100.2 until the law enforcement investigation becomes inactive.”


90
  Examples of the types of information may include: all types of medical records, substance use disorder
treatment records, information pertaining to sexual abuse and family trauma.

                                                       46
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Scoggins, at 503. CD is not in the position to know whether and when a law

enforcement investigation becomes inactive, so CD must check with law

enforcement before releasing any law enforcement records. If the law enforcement

agency objects CD must decline to release such records pursuant to a document

request. That is what happened here. 91 The DMU checked with the Highway Patrol

about the release of their records and they objected. Nothing prevents Plaintiffs

from contacting law enforcement agencies directly to ask for the information, and

the record is silent on whether Plaintiffs have made such a request. Third, CD

handles many child abuse and neglect reports where the alleged perpetrator is not a

parent or guardian. Perpetrators can be teachers, other relatives, school personnel,

household members, adult friends of the family who have access to the child, 92 and

“any person who takes control of the child by deception, force, or coercion” such as

pimps and those involved in the illegal trafficking of juveniles under federal law.

§210.110(1), (12), (16) RSMo and 22 USC §7102. In many circumstances it would be

inappropriate, unnecessary and even dangerous for CD to be required as a matter of

procedural due process to release all records pertaining to a child or family to an

alleged perpetrator who has appealed a hotline finding where the alleged

perpetrator may pose a physical danger to the child or others, or where the alleged




91
     Wright, ¶ 10.
92
     Affidavit of Emerson “Skip” McGuire, ¶ 8.

                                                 47
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perpetrator may have an interest in causing other types of harm such as using the

private information for extortion.93

        CD’s interest in limiting the scope of discovery and disclosure of CD records is

particularly compelling during the informal, CANRB administrative review process.

The CANRB is a forum with limited jurisdiction and authority. §210.152 and

§210.153 RSMo. It does not have the statutory authority to issue protective orders

or to police any of the countless, imaginable (and unimaginable) discovery disputes

that may arise during the administrative review process. CD and the CANRB do

not have the statutory authority to adjudicate or enforce discovery orders, and CD

and the CANRB does not have the statutory authority to hold anyone in contempt if

its orders were disobeyed. However, Missouri circuit courts have these powers.

Circuit Courts can also compel the production of evidence, decide discovery

disputes, issue protective orders and enforce those orders through contempt powers

or otherwise when the orders are disobeyed.

        The State of Missouri and the public have an interest in providing

individuals who are the subject of a preliminary finding with the opportunity to

choose a simple, inexpensive, informal process for the review of their case by an

independent body as discussed above.

        The State has solved this problem by giving the subject of a preliminary

finding of child abuse or neglect the choice of remedy: he or she can opt for the



93
  A list of statutes under which CD is obligated to insure confidentiality includes: RSMo §§43.540, 205.988,
208.120, 208.155, 210.150, 337.736, 407.1500, 478.005, 566.226 and 630.140, Chapters 210, 211 and 454, 20
U.S.C. § 1232g, 34 CFR Part 99, 42 CFR §§ 431.300-.307, and 45 CFR Parts 160-164,

                                                       48
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informal, inexpensive, simple CANRB administrative review process with its

advantages and limitations and defer the full-blown discovery until the trial de novo

process if needed; or he or she can immediately go to Circuit Court with the

opportunity for formal discovery. §536.100.

      Finally, the Plaintiffs’ contention that the additional costs of requiring these

additional procedures at the CANRB is de minimis is flatly wrong. If this Court

grants the relief that the Plaintiffs are requesting CANRB hearings will become

procedurally complex and will involve more complex questions of law governing the

disclosure of records. DSS will have to retain counsel to represent CD at

considerable expense. The Defendants have a detailed discussion of the burden and

costs that such changes would require in Section E 3 below. That discussion is

equally applicable to the due process analysis here.

      The State and the Public’s interest, including the interests of any families

and children who may have been victims of a perpetrator who is not an immediate

family member, clearly outweigh the Plaintiffs private interest.

      The risk of an erroneous deprivation. Under the Matthews test the Court is to

consider the risk of an erroneous deprivation of the procedures used and the

probable value, if any, of additional or substitute safeguards. Defendants submit

that the risk of erroneous deprivation as far as Plaintiffs are concerned is

practically non-existent. Plaintiffs prevailed at the CANRB without all of the

opportunities for discovery that they now demanding. Defendants have no pending




                                          49
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matters involving Plaintiffs.94 See: C.S., 491 S.W.3d at 649 (We are aware of no

case in which a court has held that due process requires more than the full panoply

of discovery and process available to all civil litigants, which the [perpetrator of

sexual abuse in a CD Hotline case] was allowed in this case.)

           Therefore, in applying the Matthews test, it is clear that due process does not

require CD to provide a process for compelling the production of witnesses and

evidence, including a complete copy of its unredacted records to alleged perpetrators

of Child Abuse and Neglect during the informal, pre-deprivation administrative

review process, when the Plaintiffs had an opportunity to receive direct judicial

review with the full powers of the Circuit court to compel discovery and depose

witnesses.

                              d. Plaintiffs do not have a procedural due process right
                              to receive disclosure of the CD’s evidence free of charge.

           Plaintiffs contend that procedural due process entitles them to receive free

disclosure of the CD’s evidence as a matter of constitutional right, but they cite no

case to support this claim. Further, the evidence establishes that DSS actually

provided them with a free, redacted copy of the records pertaining to the case prior

to the CANRB hearing. It is DSS policy to provide a free copy of the hotline record

to alleged perpetrators in hotline appeals, to a provide free copy of records those

who have been found indigent by a court and a free copy of records to individuals

who are represented pro bono by legal aid offices. 95 Plaintiff JTH was represented



94
     Affidavit of Elizabeth Michelle Palmer, ¶ 15.
95
     Wright, ¶¶ 8, 12.

                                                     50
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by Legal Services of Eastern Missouri and his counsel received copies of the records

without charge.96

           Of course, it is understandable that an accused perpetrator wants a free copy

of the opposing party’s evidence. However, the State has a legitimate interest in

controlling costs, and it costs money to respond to document requests. Staff have to

locate, compile and review the records, and confidential material must be redacted.

Copies are then provided to the requester. It is reasonable for the state to expect

that those who can afford to pay the production costs do pay those costs.

                          e. The Plaintiffs do not have a procedural due process
                          right to cross examine witnesses at an informal, pre-
                          deprivation hearing.

           Plaintiffs are asking this court to enter an injunction requiring the State to

give parties at CANRB hearings the right to cross examine witnesses. Of course,

this ignores that Plaintiffs had the opportunity to immediately elect the remedy of

direct, de novo judicial review and a stay where they would have had the right of

cross examination. §§ 536.100, 536.120 RSMo. It also ignores that, had the CANRB

issued a decision they did not agree with, Plaintiffs had a right to trial de novo, with

the right of cross examination in circuit court.

           Plaintiffs emphasize the importance of the right to cross examine witnesses.

Of course that right is important, at the appropriate time in the process. But the

issue here is not whether cross examination can be an important procedural

safeguard; the question is whether it is constitutionally required at the pre-



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     Wright, ¶¶ 10, 11.

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deprivation CANRB hearing when there is a right to a subsequent trial de novo. In

Jamison, 218 S.W.3d 399, the Missouri Supreme Court held that procedural due

process does not require a right to cross examination at the CANRB hearing.

Defendants submit that Jamison is good law. Nor, as discussed below, do any of the

cases Plaintiffs rely upon call for a different result.

       The Private Interest. Plaintiffs appear to contend that they have a private

interest in having the right to cross examine witnesses at the CANRB. The

Defendants strongly assert that there is a strong, private interest in having a

relatively fast, procedurally simple, informal and inexpensive process for

individuals who are the subjects of preliminary findings to have their cases

reviewed and perhaps overturned while the case is still within CD. This is

especially true for low-income individuals who cannot afford a lawyer. If the Court

grants the injunction and requires CD to turn CANRB hearings into formal

administrative proceedings with a right of cross examination, unrepresented

parties, especially alleged perpetrators, will be seriously disadvantaged. That is

especially true because CD would have to retain counsel to represent CD at each of

hearing.

       Plaintiffs suggest that several recent Circuit Courts of Appeal undermine

Jamison. But those cases do not apply. For instance, in Doe v. Baum, 903 F.3d 575

(6th Cir 2018), plaintiff, accused of sexually assaulting another student, faced

expulsion. After the university’s investigator interviewed the witnesses and

recommended finding in favor of the alleged perpetrator, the victim appealed to the



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University Appeals Board. The Board reviewed the investigator’s report and held

two closed door sessions, but did not consider new evidence or interview students.

The student had no right to a trial de novo in a court of general jurisdiction to

challenge the University’s decision. The 6th Circuit held that this process violated

Doe’s right to procedural due process when there were conflicting narratives as to

what happened. The University’s process differs significantly from the CANRB

process. First, the student in Baum had no opportunity to tell his side of the story;

here, Plaintiffs had the right to counsel, to present documents and call witnesses.

Second, Plaintiffs had the notice of the preliminary finding and a copy of Ms. Cook’s

investigation report. Third, unlike the student in Baum, Plaintiffs had the

opportunity to the post-deprivation remedy of a full trial de novo in circuit court

with the full panoply of rights under the Missouri Rules of Civil Procedure. All of

the other cases that the Plaintiffs cite are similarly distinguishable.

       Baum is also distinguishable on the facts. Unlike Baum and many of the

student discipline cases Plaintiffs cite, this case does not pose a “he said – she said”

conflict over what happened. Plaintiffs have not alleged that Ms. Cook got the facts

wrong, they have not alleged that Ms. Cook falsified evidence and they have not

alleged that any of the facts that she recorded in her investigation reports were

materially incorrect. They only challenge the conclusion that Ms. Cook drew from

the facts.

       Notably, as the Plaintiffs concede, the procedural due process analysis of the

Title IX student disciplinary cases they rely on was recently rejected by the 8 th



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Circuit in Arkansas-Fayetteville, 974 F.3d 858, another university student discipline

case alleging sexual assault. After, the university investigator determined that

there was insufficient evidence to support a finding of assault, the victim appealed

to the University’s Appeals Panel. The Panel conducted a de novo hearing. Students

had a right to submit written questions for the Panel to ask the other student.

Ultimately the Panel disagreed with the Investigator and decided that the accused

had violated university policy. The accused then sued, alleging that the university’s

procedure violated his right to procedural due process because he was not afforded

the opportunity to cross examine witnesses. The District Court granted the

University’s Motion to Dismiss the procedural due process claim. The 8 th Circuit

affirmed, holding that a process in which the adjudicating panel poses questions to

the witnesses is not “so fundamentally flawed as to create a categorically

unacceptable risk of erroneous deprivation.” Haidak v. Univ. of Massachusetts-

Amherst, 933 F.3d 56, 69 (1st Cir. 2019); see also Nash v. Auburn Univ., 812 F.2d

655, 664 (11th Cir. 1987) (“Although an important notion in our concept of justice is

the cross-examination of witnesses, there was no denial of appellants' constitutional

rights to due process by their inability to question the adverse witnesses in the

usual, adversarial manner.”)”

      The court in Arkansas-Fayetteville, at 867–68, went on to explain:

             While adversarial cross-examination, when employed by a skilled
             practitioner, can be an effective tool for discovering the truth, see
             California v. Green, 399 U.S. 149, 158, 90 S.Ct. 1930, 26 L.Ed.2d 489
             (1970), there are legitimate governmental interests in avoiding
             unfocused questioning and displays of acrimony by persons who are
             untrained in the practice of examining witnesses. There also would be

                                          54
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                 costs and burdens associated with imposing on a university all of the
                 formal procedural requirements of a common law criminal trial. See
                 Gorman v. Univ. of R.I., 837 F.2d 7, 16 (1st Cir. 1988); cf. Goss v.
                 Lopez, 419 U.S. 565, 583, 95 S.Ct. 729, 42 L.Ed.2d 725 (1975).

This is especially true in the context of CANRB proceedings. The topic of child

abuse and neglect is highly emotional, and less than half of the subjects of a

preliminary finding are represented by counsel at the CANRB hearings. 97

        Under the 8th Circuit’s due process analysis in Arkansas-Fayetteville,

Jamison is undoubtedly good law. Plaintiffs in this case have not claimed that they

submitted any questions to the CANRB to ask Ms. Cook, nor have they alleged that

the CANRB failed to ask the questions that they wanted the CANRB to ask, nor

have they alleged or explained how they were prejudiced by their inability to ask

questions. Further, unlike the CANRB process approved in Jamison, the

University’s procedure for the administrative review of student disciplinary actions

was not followed by an opportunity for a circuit court trial de novo with the

University bearing the burden of proof. Under Arkansas-Fayetteville, Missouri’s

CANRB process provides more procedural process that the Constitution requires.

        In support of their argument the Plaintiffs note that in 2007 that there was a

relative “high” rate of reversal of preliminary findings, about 40%, and that this is

evidence of a high risk of erroneous deprivation. Of course, the 2007 CANRB

reversal rate does not indicate what today’s rate is. In fact, the rate that the




97
 Affidavit of Sara Smith, ¶ 15. In the last three years only 34% of the individuals who asked for a CANRB hearing
were represented by a lawyer.

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CANRB has reversed preliminary findings has steadily declined since 2007, and the

latest data establishes a reversal rate of only 18%.98

        The Interests of the Government and the Public. Defendants have a detailed

discussion of the burden and costs that such changes would require in section E.3

below. That discussion is equally applicable to the due process analysis, so the

Defendants incorporate that analysis by reference here.

                 f. Plaintiffs’ arguments that they should be allowed an
                 opportunity for formal discovery and to cross-examine Ms.
                 Cook about her motives in making her preliminary finding at
                 the pre-deprivation administrative hearing are meritless.

        Count II asks for prospective, injunctive relief against the DSS and CD, not

against Ms. Cook. The question of what procedures Plaintiffs are due under the U.S.

Constitution are primarily questions of law that do not turn on whether Ms. Cook

made a report to the FBI because, as Plaintiffs infer, she was upset that the

CANRB overturned her preliminary finding.

        Plaintiffs’ PI Motion contains a page-and-a-half laundry list of cross-exam

topics for Ms. Cook, either by deposition and/or at the CARNB hearing. 99 Most of

the topics appear to be an attack on Ms. Cook’s credibility and motives and an

attempt to conduct discovery for a possible personal injury claim, rather than to

prepare for the CANRB hearing. Ms. Cook’s motives in making her preliminary

finding are wholly irrelevant to the issue before the CANRB. The only issue the

CANRB could decide was whether Plaintiffs were responsible for child neglect or



98
 Affidavit of Sara Smith, ¶ 8
99
 PI Motion, ¶¶ 27-28

                                           56
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child abuse as defined in §210.110 RSMo. §210.152 and 210.153 RSMo. Extensive

discovery into Ms. Cook’s personal motives would not help the CANRB in making

its decision. Defendants respectfully suggest that the Defendants and the public

have a significant interest in keeping the CANRB procedures focused on the most

important issue: the safety and welfare of children. Plaintiffs indicate that they had

the right to cross examine her on topics that would clearly be improper, such as

privileged conversations or communications she may have had with DSS’s General

Counsel. It would also be improper for Plaintiffs’ to cross examine Ms. Cook about

cases in which she had made similar findings or taken similar action, as other cases

are confidential as a matter of law. §210.150 RSMo.

                          g. The fact that the CD’s investigation was conducted in
                          cooperation with law enforcement does not mean that
                          the Plaintiffs are entitled to additional due process
                          protections before the CANRB.

            Plaintiffs contend that the potential criminality of child abuse and neglect

means that suspected individuals should receive a higher level of due process

protection,100 citing D.L. Cromwell Investments, Inc. v. NASD Regulation, Inc., 279

F.3d 155, 162 (2nd Cir. 2002). Unfortunately, this opinion does not analyze the

interaction between criminal and administrative investigations. It only holds that

the NASD is not a governmental entity and therefore its investigation despite a

parallel criminal investigation did not implicate Fifth Amendment concerns.

            Plaintiffs certainly have a private interest in invoking their Fifth

Amendment right to remain silent. Nothing prevents them from exercising that


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      PI Motion, p. 30.

                                                57
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right. Plaintiffs, however, offer no facts or explanation of how the procedures they

are demanding at the CANRB hearing would adversely impact their rights under

the Fifth, Sixth or Fourteenth Amendments if they were to be prosecuted for a

crime arising out of a CD investigation. It is doubtful that a finding by a

preponderance of the evidence would be admissible, upon proper objection, in a

“beyond a reasonable doubt” criminal proceeding.

      The United States Supreme Court has “on several occasions recognized that

the Fifth Amendment privilege may not be invoked to resist compliance with a

regulatory regime constructed to effect the State's public purposes unrelated to the

enforcement of its criminal laws.” Baltimore City Dep't of Soc. Servs. v. Bouknight,

493 U.S. 549, 556 (1990). In Bouknight, the mother of an abused child who was in

the legal custody of the City of Baltimore pursuant to a court order refused to

disclose the child’s location, and contended that a court order to compel her to

disclose the location of the child and produce the child violated her Fifth

Amendment right to silence because it may incriminate her. The Supreme Court

held that it did not. The Court reasoned that “the ability to invoke the privilege may

be greatly diminished when invocation would interfere with the effective operation

of a generally applicable, civil regulatory requirement.” Id., 493 U.S. at 557. The

Court noted that the City’s efforts to gain access to the child was based on concern

for the child’s safety and did not “’focu[s] almost exclusively on conduct which was

criminal.’” Id., 493 U.S. at 560 (citing California v. Byers, 402 U.S. 424, 454 (1971)).




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         While some incidents of child abuse and neglect rise to the level of criminal

conduct, many do not. As the United States Supreme Court has held “[e]ven when

criminal conduct may exist, the [juvenile] court may properly request production

and return of the child, and enforce that request through exercise of the contempt

power, for reasons related entirely to the child's well-being and through measures

unrelated to criminal law enforcement or investigation.” Bouknight, 493 U.S. at

561. CD’s child abuse and neglect hotline system is a civil regulatory system

intended to protect the safety of children and to provide services to families, not to

prosecute criminal charges. CD employees are not law enforcement officers.

Scroggins, 227 S.W.3d 498.

         Missouri’s compelling governmental interest in protecting children includes

having the option of a relatively simple, swift process for administrative review of

preliminary findings. It also includes a need to have children produced during abuse

and neglect investigations to ensure they are safe and well cared for. The name of

the alleged perpetrator is not listed in the Central Registry until the process is

complete. Where there is child abuse or neglect, the State has a compelling interest

in listing the information in the Registry in as timely way as possible so that

individuals and entities with a need for that information101 may access it, §210.150

RSMo, to avoid putting children at risk of abuse/neglect.

                           h. Plaintiffs’ reliance on the old U.S. Supreme Court
                           opinion in Goldberg v. Kelly is misplaced.


101
   Entities that may access the information under certain circumstances include, for example: courts, law
enforcement, prosecutors, juvenile officers, schools, physicians, and guardians ad litem for the child. §210.150
RSMo.

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      Plaintiffs’ reliance on the “seminal” case of Goldberg v. Kelly, 397 U.S. 254

(1970), for the proposition that a full hearing is required is misplaced. Notably, the

Supreme Court has noted that Goldberg was the only case in which the Court

“required a full adversarial evidentiary hearing prior to adverse government action”

in the administrative context. Loudermill, 470 U.S. at 546. And, the Goldberg Court

itself recognized that the “constitutional issue to be decided, therefore, is the narrow

one whether the Due Process Clause requires that the recipient be afforded an

evidentiary hearing before the termination of [state welfare] benefits.” Goldberg,

397 U.S. at 260. The Supreme Court also held in Goldberg, 397 U.S. at 266-67:

             that the pre-termination hearing need not take the form of a judicial or
             quasi-judicial trial. We bear in mind that the statutory ‘fair hearing’
             will provide the recipient with a full administrative review. [footnote
             omitted] Accordingly, the pre-termination hearing has one function
             only: to produce an initial determination of the validity of the welfare
             department's grounds for discontinuance of payments in order to
             protect a recipient against an erroneous termination of his benefits. Cf.
             Sniadach v. Family Finance Corp., 395 U.S. 337, 343, 89 S.Ct. 1820,
             1823, 23 L.Ed.2d 349 (1969) (Harlan, J., concurring). Thus, a complete
             record and a comprehensive opinion, which would serve primarily to
             facilitate judicial review and to guide future decisions, need not be
             provided at the pre-termination stage.

[emphasis added]. At the pre-termination hearing the Supreme Court held that

“[i]nformal procedures will suffice; in this context due process does not require a

particular order of proof or mode of offering evidence Goldberg, 397 U.S. at 269.

      The procedure challenged in Goldberg is not comparable to CD’s CANRB

review process. In Goldberg, New York’s procedures did not permit the welfare

recipient to appear personally with or without counsel before the official who finally

determined their continuing eligibility for benefits. The welfare recipients were not

                                           60
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notified that they had a right to a fair hearing and subsequent judicial review.

Further, welfare recipients were not entitled to a full, trial de novo in New York’s

court of general jurisdiction.

         Plaintiffs reliance on Dolic v. Mo. Dept. of Social Services, 493 S.W.3d 22

(Mo.App. 2016) is equally unavailing. Dolic was a case of a denial of public welfare

benefits (Medicaid in this case) and was controlled by Goldberg because a federal

Medicaid regulation expressly required the Department to apply the Goldberg

procedures in Medicaid appeals. 42 C.F.R. § 431.205(d).

                  2. The Court should deny the PI Motion because there is no
                  credible threat of irreparable harm to the Plaintiffs.

         To establish a right to a preliminary injunction, plaintiffs must establish that

they will be irreparably harmed if the court does not grant the relief requested. The

8th Circuit has held that the movant is required to establish the threat of

irreparable harm, and the absence of irreparable injury alone is sufficient grounds

for denying a motion for preliminary injunction. Dataphase, 640 F.2d at 114, n. 9.

Plaintiffs cannot meet this requirement for the same reason they lack Article III

standing: the CANRB reversed Ms. Cook’s preliminary finding, Plaintiffs are not

listed in the Central Registry, and CD does not have a pending investigation or

family assessment involving this family.102 The entry of a preliminary injunction

would only grant the plaintiffs’ hypothetical relief if CD receives a new hotline

report involving the family, if the new report rises to the level of an investigation


102
  Defendants ask the court to refer back to the Defendant’s analysis of Article III standing in this brief and in the
Defendant’s Motion to Dismiss.


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(not a family assessment), and if CD makes a preponderance of evidence finding. At

present, none of these contingencies exist.

      If these contingencies do come to pass, Plaintiffs further have adequate

remedies at law and/or in equity to vindicate their rights when there is an actual

threat of a concrete and imminent injury. Plaintiffs could seek a Writ of Prohibition

in circuit court to stop CD from proceeding in violation of their constitutional rights.

They could also seek relief in federal court if they had a real, federal cause of action.

      Plaintiffs contend that they will suffer irreparable harm because the damage

to one’s reputation is a harm that cannot be remedies by a later award of money

damages. A listing in the Central Registry, however, is not a public record like the

sexual offender registry. Information in the Central Registry is confidential, and

can only be disclosed to individuals and entitles who have a need to access the

information in order to protect children. §210.150 RSMo. Access to information

pertaining to family assessments is even more restricted. §210.150.3 RSMo.

             3. The Court should deny the PI Motion because the Defendant
             and other suspected perpetrators of child abuse or neglect will
             be harmed by the entry of the requested relief.

      Under Dataphase, 640 F.2d at 114, the court must balance the irreparable

injury a plaintiff may suffer if the court does not grant the preliminary injunction

against the harm that granting the injunction will inflict on other parties. Plaintiffs

essentially argue that the costs to the State to provide the additional procedural

protections would be de minimis. That is simply untrue.




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         The additional procedures that Plaintiffs seek to impose on the Defendants as

a matter of federal constitutional law will come at great administrative and fiscal

cost. The requested procedures will require CD to restructure the administrative

review process. The new procedures will mean that the process for preparing for

CANRB hearings will be formal, complex and costly. With many of the attributes of

a civil trial, hearings will take much longer.

          The current administrative review system centers on a board of citizen

volunteers appointed by the Governor with the advice and consent of the Senate.

§210.153 RSMo. They serve without compensation, although their expenses are

reimbursed. §210.153.5.103 The Board includes professionals such as physicians,

lawyers and psychologists.104 §210.152.2. Service on the Board may require a

commitment of a considerable amount of time at the expense of the Board member’s

professional duties. 105 Having a board with this type of membership and structure

provides significant advantages to the review process in that it ensures that each

panel of the Board brings a range of professional experience and expertise to the

resolution of these difficult cases.106 CD has difficulty recruiting and retaining

Board members under the current rules. 107 In addition, with hearings taking longer

CD expects that it will either have to increase the number of panels of the Board to

hear the longer cases or it will have to take longer to get CANRB hearings




103
    Affidavit of Sara Smith, ¶ 12.
104
    Affidavit of Sara Smith, ¶ 12.
105
    Affidavit of Sara Smith, ¶ 14.
106
    Affidavit of Sara Smith, ¶ 13.
107
    Affidavit of Sara Smith, ¶ 14.

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scheduled.108 Finally, CANRB members will have to undergo additional training on

how to implement the new procedures. CD expects that it will experience a

significant, and possibly crippling, level of difficulty in recruiting and retaining

CANRB members if the Court grants the Motion for preliminary injunction. 109

         CD is rarely represented by a lawyer at CANRB hearings, 110 with non-

attorney CD staff presenting information to the Board. If the new procedures are

required, Defendants expect that CD will need to retain counsel to represent it in

every CANRB matter to ensure that the new procedures are properly implemented.

Defendants estimate the costs for the additional representation at over $876,503. 111

There would be added costs related to staff training, drafting new policies and

procedures, board member expenses, and a special master needed for evidentiary

issues.112

         The regulations governing the administrative review process would have to

be rewritten consistent with the requirements of the injunction. If the preliminary

or permanent injunction is reversed on appeal, most or all of that additional work

would have to be walked back. Writing and promulgating regulations requires the

effort of lawyers and policy staff.

         Finally, if the Court grants all or even a part of the injunctive relief Plaintiffs

are requesting, where does that leave the right to a trial de novo in Circuit Court




108
    Affidavit of Sara Smith, ¶ 16, 17.
109
    Affidavit of Sara Smith, ¶ 18 (1st)
110
    Affidavit of Sara Smith, ¶ 18 (2nd)
111
    Affidavit of Sara Smith, ¶¶ 19-21.
112
    Affidavit of Sara Smith, ¶¶ 19 (1st), 20, 21.

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under §210.152 RSMo? If this Court grants the preliminary injunction but does not

address this question, Plaintiffs and others similarly situated would essentially

have the right to a full evidentiary hearing at the pre-deprivation CANRB hearing,

and to a trial de novo before a circuit judge if they disagree with the CANRB’s

decision. This means that unless the Missouri General Assembly amends the law,

CD and the State may have to formally litigate the same issues twice, once before

the CANRB and once before the Circuit court. This fiscal burden on the State is

simply unnecessary in light of the interests at stake.

              4. The Court should deny the PI Motion because Plaintiffs
              have an adequate remedy at law.

      As mentioned above, Plaintiffs have adequate remedies at law to vindicate

their rights when there is an actual threat of a concrete and imminent injury. They

could seek a Writ of Prohibition in circuit court to stop CD from proceeding in

violation of their Constitutional rights; or even relief in federal court, if they had a

real, federal cause of action.

             5. The public interest will not be served if this court enters the
             preliminary injunction that Plaintiffs are seeking.

      Defendant is an agency of State Government. To a large extent the Agency

represents the public interest. Defendants submit that the public interest would not

be furthered by this Court granting the relief that Plaintiffs request in the PI

Motion, for all of the reasons detailed above and in Defendants’ Motion to Dismiss.

VII. Bond




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      Defendants object to Plaintiffs’ request to waive bond or for a nominal bond.

As explained above, Plaintiffs’ contention that there is “no ready or apparent cost to

the CD from adding” the additional procedures that Plaintiffs seek is untrue.

Requiring CD to implement these procedures will come at a substantial price to CD

and Missouri taxpayers. In addition, it will come at the expense of many subjects of

a preliminary finding of child abuse or neglect who would have preferred to a less

costly and cumbersome system. Defendants respectfully suggest that a bond of not

less than $250,000 is appropriate to compensate CD and the taxpayers for the cost

of having to implement a preliminary injunction which will be likely be reversed on

appeal.

VIII. Conclusion

      Plaintiffs’ PI Motion should be denied and the Complaint should be dismissed

with prejudice.




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                          CERTIFICATE OF SERVICE

       I hereby certify that on the 22nd day of January, 2021, the foregoing was filed
electronically via the Court’s electronic filing system and was served by operation of
the CM-ECF system on all counsel of record.

                                               /s/ Edward V. Crites
                                               Assistant Attorney General




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